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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                )
SAMUEL SILBER; SIDNEY EDDY                      )
STRULOVITS; SHERI LYNN STRULOVITS;              )
MOSHE GORDON; DANIEL JACOB;                     )
TSOFIYA JACOB; LEWIS WEINGER;                   )    C.A. No. 1:18-cv-01884-RGA
MORIYAH SHAPIRO; JONATHAN                       )
SHAPIRO; INBAL NAZDARE LEVY; YAIR               )
SPOLTER; ERIC CHARLES MARX; SUSAN               )    JURY TRIAL DEMANDED
LYNN MARX; ALON MADIEL; DANIELLE                )
MADIEL; GULIE MADIEL; HOWARD                    )
RABIN; JEFFREY T. SCHWARTZ; and                 )
DAVID TESLER,                                   )
                                                )
                           Plaintiffs,          )
                                                )
                    v.                          )
                                                )
AIRBNB, Inc.,                                   )
                                                )
                           Defendant.           )
                                                )
                                                )


                                 STIPULATION OF DISMISSAL


        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs and Defendant, by and through

their respective undersigned counsel, hereby stipulate and agree to dismiss the above-captioned

action. Such dismissal is on the merits and with prejudice. Each party will bear its own costs,

expenses, and attorneys’ fees.




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KLEHR HARRISON                            YOUNG CONAWAY
HARVEY BRANZBURG LLP                      STARGATT & TAYLOR, LLP

/s/ David S. Eagle                        /s/ Adam W. Poff
David S. Eagle (#3387)                    C. Barr Flinn (#4092)
Sean M. Brennecke (#4686)                 Adam W. Poff (#3990)
919 Market Street, Suite 1000             Robert M. Vrana (#5666)
Wilmington, DE 19801                      Rodney Square
Telephone: (302) 552-5518                 1000 North King Street
Email: deagle@klehr.com                   Wilmington, DE 19801
       sbrennecke@klehr.com               Telephone: (302) 571-6600
                                          Email: bflinn@ycst.com
                                                 apoff@ycst.com
Counsel for Plaintiffs                           rvrana@ycst.com

                                          Counsel for Defendant Airbnb, Inc.




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